              Case 1:20-mj-10423-UA Document 3 Filed 10/20/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                20 -MAG-1423     ( )( )


Waliek Vereen
                                                 Defendant(s).
-----------------------------------------------------------------X

Defendant ___Waliek Vereen______________________ hereby voluntarily consents to
participate in the following proceeding via _X__ videoconferencing or _X__ teleconferencing:

_X__ Initial Appearance Before a Judicial Officer

___      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Bail/Detention Hearing

___      Conference Before a Judicial Officer



_______________________________                                      _________________________________
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Waliek Vereen__________________                                      _Marisa K. Cabrera_____________
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

October 20, 2020____                                                 _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
